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IN TI-IE UNITED STATES DISTRICT COURT

   

 

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UNITED sTATEs oF AMERICA, CLH§*US JIDC|€OUT
Plaimiff, w/s ct 1a assess
v. No. 99-20156_D
joseph Vershish,
Defendant.

 

MOTION TO CONTINUE SENTENCING

 

Comes now, the defendant,]oseph Vershish, by and through his

attorney of record and hereby requests this court enter an order continuing the

above referenced sentencing hearing currently set for August 3, 2005. ln

support of said motion, your defendant would respectfully state the following:

1. Your defendant was originally Sentenced in the above referenced

 
 
    

' matter and timely filed an appeal regarding the sentence received

llal.li\ § 3 2.' While the matter Was pending appeal, the United State Supreme

§ §§ 4 Court decided Booker / Fanfan. That decisions and the Sixth Circuit
O §§ " jurisprudence that followed directly affected the issues pending

g §§ before the court of appeals in this matter.

§

3. By agreement, the United States and the defendant had the matter

remanded back to the district court for re-sentencing.

4. Since that time, counsel for the United States and the defendant have

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met and discussed a proposed resolution to this matter that will not
require another sentencing hearing

5. Additionally, the defendant has a companion case that is currently on
appeal. A resolution of that appeal is expected Within ninety (90)
days.

6. Counsel for the defendant is currently scheduled to be out of town
on the sentencing date of August 3, 2005.

7. Additionally, Counsel for the defendant is relocating his practice to
Chicago, Illinois as of August 12, 2005.

8. Counsel has agreed to continue his representation of the defendant in
this matter as Well as the companion case. Counsel \vill return to the
jurisdiction for all future court proceedings

9. After discussions With Camille McMullen, Assistant United States
Attorney handling this matter, the parties Would respectfully request
that this court continue the sentencing in this matter for at least
ninety (90) days to allow the parties to finalize a proposed disposition
to the Court as Well as to allow the companion case currently on
appeal to reach final resolution.

10. Once that has occurred, Counsel for both parties Will be prepared to
resolve both matters.

Wherefore premises considered, your defendant respectfully requests

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that the sentencing hearing currently set for August 3, 2005 be reset for at least
ninety (90) days to allow the parties to reach a proposed disposition in this
matter and allow the sufficient time for the companion Case to reach a final
resolution as well.

Respectfu]ly submitted

 

 

oward B. Manis

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Attorney for Defendant

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing Notice of
Appearance was furnished by mailing/ delivering same U.S. postage prepaid the
29 day 0£?£4¢, 2005, to the following

Ms. Camille McMullen

Asst. U.S. Attorney

167 N. Main, IO‘h Floor f
Federal Oflice Building /

Memphis, TN 38103

 
   

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,HQWA'RD B. Male

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Notice of Distribution

This notice confirms a copy of the document docketed as number 121 in
case 2:99-CR-20156 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
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Ste. 800

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Honorable Bernice Donald
US DISTRICT COURT

